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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


  CLAUDE BEAUREGARD,
                                                       Civil Action No.
                      Plaintiff,
                                                       COMPLAINT FOR VIOLATIONS
       v.                                              OF THE FEDERAL SECURITIES
                                                       LAWS


                                                       JURY TRIAL DEMANDED
   U.S. CONCRETE, INC., MICHAEL D.
   LUNDIN, SUSAN M. BALL, KURT M.
   CELLAR, RAJAN C. PENKAR,
   RONNIE PRUITT, THEODORE P.
   ROSSI, AND COLIN M.
   SUTHERLAND,


                      Defendants.



       Plaintiff Claude Beauregard (“Plaintiff”) by and through Plaintiff’s undersigned

attorneys, brings this action on behalf of Plaintiff, and alleges the following based upon personal

knowledge as to those allegations concerning Plaintiff and, as to all other matters, upon the

investigation of counsel, which includes, without limitation: (a) review and analysis of public

filings made by U.S. Concrete, Inc. (“U.S. Concrete” or the “Company”) and other related

parties and non-parties with the United States Securities and Exchange Commission (“SEC”); (b)

review and analysis of press releases and other publications disseminated by certain of the

Defendants (defined below) and other related non-parties; (c) review of news articles,

shareholder communications, and postings on the Company’s website concerning the Company’s

public statements; and (d) review of other publicly available information concerning U.S.

Concrete and the Defendants.
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                                  SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against U.S. Concrete and the Company’s

Board of Directors (the “Board” or the “Individual Defendants”) for their violations of Section

14(a) and 20(a) of the Securities Exchange Act of 1934, 15 U.S.C. §§ 78n(a), 78t(a), and SEC

Rule 14a-9, 17 C.F.R. 240.14a-9, in connection with the proposed acquisition of the Company by

Vulcan Materials Company (“Vulcan”) and its affiliates (the “Proposed Transaction”).

       2.       On June 6, 2021, the Company entered into an Agreement and Plan of Merger

(the “Merger Agreement”) with Vulcan. Pursuant to the terms of the Merger Agreement the

Company’s shareholders will have the right to receive $74.00 in cash per share of U.S. Concrete

owned (the “Merger Consideration”).

       3.       On July 13, 2021, in order to convince the Company’s shareholders to vote in

favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete and

misleading proxy statement with the SEC (the “Proxy Statement”), in violation of Sections 14(a)

and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

U.S. Concrete and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and

Rule 14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the

Proposed Transaction unless and until the material information discussed below is disclosed to

U.S. Concrete shareholders before the vote on the Proposed Transaction or, in the event the

Proposed Transaction is consummated, recover damages resulting from the Defendants’

violations of the Exchange Act.




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                                    JURISDICTION AND VENUE

          5.       This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

          6.       This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

          7.       Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                            THE PARTIES

          8.       Plaintiff is, and has been at all times relevant hereto, the owner of U.S. Concrete

shares.

          9.       Defendant U.S. Concrete is incorporated under the laws of Delaware and has its

principal executive offices located at 331 N. Main Street, Euless, Texas 76039. The Company’s

common stock trades on the NASDAQ under the symbol “USCR.”

          10.      Defendant Michael D. Lundin (“Lundin”) is and has been the Chairman of the

Board of U.S. Concrete at all times during the relevant time period.

          11.      Defendant Susan M. Ball (“Ball”) is and has been a U.S. Concrete director at all

times during the relevant time period.




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       12.     Defendant Kurt M. Cellar (“Cellar”) is and has been a U.S. Concrete director at

all times during the relevant time period.

       13.     Defendant Rajan C. Penkar (“Penkar”) is and has been a U.S. Concrete director at

all times during the relevant time period.

       14.     Defendant Ronnie Pruitt (“Pruitt”) is and has been the President, Chief Executive

Officer (“CEO”) and a director of U.S. Concrete at all times during the relevant time period.

       15.     Defendant Theodore P. Rossi (“Rossi”) is and has been a U.S. Concrete director

at all times during the relevant time period.

       16.     Defendant Colin M. Sutherland (“Sutherland”) is and has been a U.S. Concrete

director at all times during the relevant time period.

       17.     Defendants Lundin, Ball, Cellar, Penkar, Pruitt, Rossi and Sutherland are

collectively referred to herein as the “Individual Defendants.”

       18.     The Individual Defendants, along with Defendant U.S. Concrete, are collectively

referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                  Background of the Company

       19.     U.S. Concrete is a leading supplier of aggregates and concrete for infrastructure,

residential and commercial projects across the country. U.S. Concrete holds leading positions in

the high-growth metropolitan markets of Dallas/Fort Worth, San Francisco, New York City,

Philadelphia, and Washington, D.C., and its materials have been used in some of the most

complex and highly specialized construction projects of the last decade. U.S. Concrete has

continued to grow organically and through a series of strategic acquisitions of independent

producers.




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                      The Company Announces the Proposed Transaction

       20.      On June 7, 2021, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:


       BIRMINGHAM, Ala. and EULESS, Texas, June 7, 2021 /PRNewswire/ --
       Vulcan Materials Company (NYSE: VMC), a leading producer of construction
       aggregates, and U.S. Concrete, Inc. (NASDAQ: USCR), a leading supplier of
       aggregates and ready-mixed concrete, today announced that they have entered
       into a definitive merger agreement. Under the terms of the agreement, Vulcan will
       acquire all of the issued and outstanding shares of U.S. Concrete common stock
       for a purchase price of $74.00 per share in cash, which represents a total equity
       value of $1.294 billion. The transaction has been unanimously approved by the
       boards of directors of both companies and is expected to close in the second half
       of 2021, subject to U.S. Concrete shareholder approval, regulatory clearance, and
       other customary closing conditions.

       Headquartered in Euless, Texas, U.S. Concrete operates in large, attractive
       metropolitan areas that complement Vulcan's existing footprint. With 27
       aggregates operations serving California, Texas and the Northeast, that shipped
       12.6 million tons in 2020, the acquisition of U.S. Concrete's portfolio represents a
       natural addition to Vulcan's business. The transaction also provides strategically
       oriented ready-mixed concrete operations that will expand Vulcan's service
       capabilities. Other highlights include:

       •     Complements Vulcan's existing aggregates business in California with access
             to blue-water source of high quality aggregates reserves;
       •     Enhances Vulcan's position in key Texas growth areas;
       •     Expands Vulcan's aggregates footprint, including in the attractive New York
             and New Jersey metropolitan areas;
       •     Expected to increase Vulcan's EBITDA by approximately $190 million before
             synergies; and,
       •     Expected to be accretive to Vulcan's earnings per share in the first full year
             following closing.

       Tom Hill, Chairman and CEO of Vulcan Materials Company, said, "U.S.
       Concrete is an important Vulcan customer in a number of key areas, and this
       transaction is a logical and exciting step in our growth strategy as we further
       bolster our geographic footprint. Ronnie Pruitt and his team have done an
       excellent job growing and operating its business, and we look forward to
       welcoming the U.S. Concrete employees to the Vulcan family. This is a merger
       of two corporate cultures that value people, technology, operating disciplines,
       customer service and the entrepreneurial spirit, and it positions Vulcan to further
       drive sustainable, long-term shareholder value."



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       Ronnie Pruitt, President and CEO of U.S. Concrete added, "Today's
       announcement that we are combining with Vulcan, a leading producer of
       construction aggregates, marks a major milestone in U.S. Concrete's history. We
       are proud of the work our team has accomplished over the past few years to
       achieve operational excellence and serve our customers and believe combining
       with Vulcan will provide us with the opportunity to build on our progress. Our
       combined organization will share an extensive and successful track record of
       acquisitions and greenfield development, and we look forward to working with
       Tom and the entire Vulcan family to close this transaction and integrate our two
       strong businesses."

       The Greystone Group is serving as financial advisor to Vulcan. Truist Securities,
       Inc. is serving as sole lead arranger on committed financing to Vulcan. Wachtell,
       Lipton, Rosen & Katz and Bradley Arant Boult Cummings LLP are serving as
       legal counsel to Vulcan. Evercore and BNP Paribas Securities Corp. are serving
       as financial advisors to U.S. Concrete. Gibson, Dunn & Crutcher, LLP and Akin
       Gump Strauss Hauer & Feld LLP are serving as legal counsel to U.S. Concrete.

                       FALSE AND MISLEADING STATEMENTS
               AND/OR MATERIAL OMISSIONS IN THE PROXY STATEMENT

       21.    On July 13, 2021, the Company authorized the filing of the Proxy Statement with

the SEC. The Proxy Statement recommends that the Company’s shareholders vote in favor of

the Proposed Transaction.

       22.    Defendants were obligated to carefully review the Proxy Statement prior to its

filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions.          However, the Proxy Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                 Material False and Misleading Statements or Material
     Misrepresentations or Omissions Regarding the Company’s Financial Projections




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       23.    The Proxy Statement contains projections prepared by the Company’s and

Vulcan’s management concerning the Proposed Transaction, but fails to provide material

information concerning such.

       24.    The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such

projections.1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new

and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy.2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       25.    In order to make management’s projections included in the Proxy Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.

       26.    Specifically, with respect to the Company’s projections, the Company must

disclose the line item projections for the financial metrics that were used to calculate the non-

GAAP measures, including: (i) Adjusted EBITDA; and (ii) Unlevered Free Cash Flow.




1
  See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.
2
  Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017),  available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


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       27.      Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.    Specifically, the above information would provide shareholders with a better

understanding of the analyses performed by the Company’s financial advisor in support of its

opinion.

                     Material False and Misleading Statements or Material
                 Misrepresentations or Omissions Regarding the Financial Opinions

       28.      The Proxy Statement contains the financial analyses and opinion of Evercore Inc.

(“Evercore”) and BNP Paribas Securities Corp. (“BNP”) concerning the Proposed Transaction,

but fails to provide material information concerning such.

       29.      With respect to Evercore’s Selected Public Company Trading Analysis, the Proxy

Statement fails to disclose the individual multiples and metrics for the companies observed in the

analysis.

       30.      With respect to Evercore’s Selected Transactions Analysis for the Company, the

Proxy Statement fails to disclose the individual multiples and metrics for the transactions

observed in the analysis.

       31.      With respect to Evercore’s Discounted Cash Flow Analysis for the Company, the

Proxy Statement fails to disclose: (i) the projected terminal values for U.S. Concrete; (ii) the

inputs and assumptions underlying Evercore’s use of the perpetuity growth rates of 2.25% to

3.25%; (iii) the inputs and assumptions underlying Evercore’s use of the discount rates ranging

from 9.0% to 10.0%, (iv) the Company’s net debt; and (v) the number of fully diluted shares of

U.S. Concrete common stock outstanding.

       32.      With respect to Evercore’s Illustrative Present Value of Future Share Price

Analysis, the Proxy Statement fails to disclose: (i) the inputs and assumptions underlying



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Evercore’s use of the EV/NTM Adjusted EBITDA multiple range of 7.0x to 8.5x; (ii) the

Company’s estimated net debt; (iii) the number of estimated fully diluted shares of U.S. Concrete

common stock outstanding; and (iv) the inputs and assumptions underlying Evercore’s use of the

illustrative discount rate of 13.0%.

       33.      With respect to Evercore’s Illustrative Sponsor Ability to Pay Analysis, the Proxy

Statement fails to disclose: (i) the inputs and assumptions underlying Evercore’s use of a

required internal rate of return in the range of 17.5% to 22.5%; (ii) the inputs and assumptions

underlying Evercore’s use of a total leverage ratio of 5.5x to the Company’s estimated LTM

Adjusted EBITDA as of March 31, 2021; (iii) the basis for Evercore’s application of exit

multiples in the range of 7.5x to 9.0x to the Company’s estimated 2025 LTM Adjusted EBITDA.

       34.      With respect to Evercore’s Equity Research Analyst Price Targets, the Proxy

Statement fails to disclose the price targets reviewed by Evercore, as well as the sources thereof.

       35.      With respect to BNP’s Discounted Cash Flow Analysis for the Company, the

Proxy Statement fails to disclose: (i) the projected terminal values for U.S. Concrete; (ii) the

inputs and assumptions underlying BNP’s use of perpetuity growth rates of 2.5% to 3.0%; (iii)

the inputs and assumptions underlying BNP’s of discount rates ranging from 8.7% to 9.4%; (iv)

the Company’s net debt as of June 1, 2021; and (v) the number of fully diluted shares of U.S.

Concrete common stock outstanding.

       36.      With respect to BNP’s Comparable Trading Multiples analysis, the Proxy

Statement fails to disclose the individual multiples and metrics for the companies observed in the

analysis.




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          37.   With respect to BNP’s Precedent Transaction Multiples analysis for the

Company, the Proxy Statement fails to disclose the individual multiples and metrics for the

transactions observed in the analysis.

          38.   When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to

better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

          39.   Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                             COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          40.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          41.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or



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authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

       42.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

       43.     Defendants have issued the Proxy Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement, which fails to provide critical information

regarding, among other things, the financial projections for the Company.

       44.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such information

to shareholders although they could have done so without extraordinary effort.

       45.     The Defendants knew or were negligent in not knowing that the Proxy Statement

is materially misleading and omits material facts that are necessary to render it not misleading.

The Defendants undoubtedly reviewed and relied upon the omitted information identified above

in connection with their decision to approve and recommend the Proposed Transaction.




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       46.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Proxy Statement, rendering the sections

of the Proxy Statement identified above to be materially incomplete and misleading. Indeed, the

Defendants were required to be particularly attentive to the procedures followed in preparing the

Proxy Statement and review it carefully before it was disseminated, to corroborate that there are

no material misstatements or omissions.

       47.     The Defendants were, at the very least, negligent in preparing and reviewing the

Proxy Statement. The preparation of a Proxy Statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Defendants were negligent in choosing to omit material information from the Proxy Statement or

failing to notice the material omissions in the Proxy Statement upon reviewing it, which they

were required to do carefully as the Company’s directors. Indeed, the Defendants were

intricately involved in the process leading up to the signing of the Merger Agreement and the

preparation of the Company’s financial projections.

       48.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

       49.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                            COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

       50.     Plaintiff incorporates each and every allegation set forth above as if fully set forth



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herein.

          51.   The Individual Defendants acted as controlling persons of U.S. Concrete within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as officers and/or directors of U.S. Concrete, and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the incomplete and misleading statements

contained in the Proxy Statement filed with the SEC, they had the power to influence and control

and did influence and control, directly or indirectly, the decision making of the Company,

including the content and dissemination of the various statements that Plaintiff contends are

materially incomplete and misleading.

          52.   Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          53.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

          54.   In addition, as set forth in the Proxy Statement sets forth at length and described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Proxy Statement purports to describe the various issues and information

that the Individual Defendants reviewed and considered. The Individual Defendants participated




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in drafting and/or gave their input on the content of those descriptions.

       55.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       56.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       57.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the Proxy

Statement that does not contain any untrue statements of material fact and that states all material

facts required in it or necessary to make the statements contained therein not misleading;

       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.




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                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: July 30, 2021                                   Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
                                                               Joshua M. Lifshitz
                                                               Email: jml@jlclasslaw.com
                                                               LIFSHITZ LAW FIRM, P.C.
                                                               1190 Broadway,
                                                               Hewlett, New York 11557
                                                               Telephone: (516) 493-9780
                                                               Facsimile: (516) 280-7376

                                                               Attorneys for Plaintiff




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